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Case 4:12-cv-00074-CKJ

MICHAEL A. LEON

444 W. Orange Grove Road, #1136
Tueson, Arizona 85704

(520) 256-8457

Emaik: MichsellLion@yahoo.com
Plaintiff Pro Se

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF AREZONA

MICHAEL A. LEON;
Plaintiff,
VS,

DANAHER CORPORATION, a corporation,
PACIFIC SCIENTIFIC AND
SECURAPLANE TECHNOLOGIES, INC.),
subsidiaries of DANAHER CORORATION,
RON SCHILLE, JAMES BJORK, STEVE
BISSELL, MIKE BOOST, MIKE
DINWIDDIE, GERARD DUROCHER,
HUMANN FARDAGAND, TONY GARCIA,
ROD IVERSON, VINCE JENKINS, KARI
STUCKY, TONY LUYK, TRAVIS
WEAVER, HEIDI LUCAS, LYNETTE
NOYCE, HELEN VELEZ, KRISTINA
WEBER, SHAWN K. BUCHER, MICHAEL
LAUER, CHIRAG DUA, RODNEY JAMES,
DAVID SILVERIO, SHUBHA YU
CHAKRABORTY,

Defendants.

CIVi2-74

 

 

TUC CRP

Case No,
COMPLAINT
EMOTIONAL DISTRESS, LIBEL
SLANDER (DEFAMATION) INVASION
OF PRIVACY FALSE LIGHT

JURY TRIAL DEMANDED

Plaintiff Michael A. Leon (“Plaintiff”) brings this Complaint for defamation, emotional
distress, invasion of privacy/false light against DANAHER CORPORATION, PACIFIC
SCIENTIFIC AND SECURAPLANE TECHNOLOGIES, INC., RON SCHILLE, JAMES
BJORK, STEVE BISSELL, MIKE BOOST, MIKE DINWIDDIE, GERARD DUROCHER,
HUMANN FARDAGAND, TONY GARCIA, ROD IVERSON, VINCE JENKINS, KARI

 

 
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STUCKY, TONY LUYK, TRAVIS WEAVER, HEIDI LUCAS, LYNETTE NOYCE, HELEN
VELEZ, KRISTINA WEBER, SHAWN K. BUCHER, MICHAEL LAUER, CHIRAG DUA,
RODNEY JAMES, DAVID SILVERIO, SHUBHAYU CHAKRABORTY (“Defendants”) and
states the following:

JURISDICTION AND VENUE
1, This Court enjoys subject matter jurisdiction over this action under 28 U.S.C. §
1332(a)(1) because the Plaintiff and Defendants are citizens of different states and the
amount in controversy exceeds $75,000.
2. This Court enjoys personal jurisdiction over the Defendants because the false and
defamatory statements made by Defendants were published in the County of Pima, State of
Arizona, and the Plaintifftarget of the defamatory statements was and remains a resident of the
County of Pima, State of Arizona.
3. This Court enjoys venue under 28 U.S.C. § 1391(a)(2) because all or a substantial portion of
the events that gave rise to Plaintiff’s claims transpired in the State of Arizona, including the
publication or republication of the defamatory falsehoods and the damage to Plaintiff's
reputation.

THE PARTIES

4, Plaintiff, Michael A. Leon is a disabled pro se litigant receiving social security benefits. Mr.
Leon is a former employee of Securaplane Technologies. Mr. Leon resident of Pima County,
State of Arizona.
5. Defendant, DANAHER CORPORATION was a parent company of Securaplane
Technologies, Inc.
6. Defendant, PACIFIC SCIENTIFIC is a parent company of Securaplane Technologies, Inc.
7. Defendant SECURAPLANE TECHNOLOGIES, INC. is a company located in the city of
Tucson, the state of Arizona.
8. Defendant RON SCHILLE was/is an employee for Securaplane Technologies located in the

city of Tucson, the state of Arizona.

 

 
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9. Defendant JAMES BJORK was/is an employee for Securaplane Technologies located in the
city of Tucson, the state of Arizona.

10. Defendant STEVE BISSELL was/is an employee for Securaplane Technologies located in
the city of Tucson, the state of Arizona,

11. Defendant MIKE BOOST was/is an employee for Securaplane Technologies located in the
city of Tucson, the state of Arizona.

12. Defendant MIKE DINWIDDIE was/is an employee for Securaplane Technologies located in
the city of Tucson, the state of Arizona.

13. Defendant GERARD DUROCHER was/is an employee for Securaplane Technologies
located in the city of Tucson, the state of Arizona.

14. Defendant HUMANN FARDAGAND was/is an employee for Securaplane Technologies
located in the city of Tucson, the state of Arizona.

15. Defendant TONY GARCIA was/is an employee for Securaplane Technologies located in the
city of Tucson, the state of Arizona.

16, Defendant ROD IVERSON was/is an employee for Securaplane Technologies located in the
city of Tucson, the state of Arizona.

17. Defendant VINCE JENKINS was/is an employee for Securaplane Technologies located in
the city of Tucson, the state of Arizona.

18. Defendant KARI STUCKY was/is an employee for Securaplane Technologies located in the
city of Tucson, the state of Arizona.

19. Defendant TONY LUYK was/is an employee for Securaplane Technologies located in the
city of Tucson, the state of Arizona.

20. Defendant TRAVIS WEAVER was/is an employee for Securaplane Technologies located in
the city of Tucson, the state of Arizona,

21. Defendant HEIDI LUCAS was/is an employee for Securaplane Technologies located in the
city of Tucson, the state of Arizona.

22, Defendant LYNETTE NOYCE was/is an employee for Securaplane Technologies located in

the city of Tucson, the state of Arizona.

 

 
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23. Defendant HELEN VELEZ was/is an employee for Securaplane Technologies located in the
city of Tucson, the state of Arizona,
24, Defendant KRISTINA WEBER was/is an employee for Securaplane Technologies located in
the city of Tucson, the state of Arizona.
25. Defendant SHAWN K. BUCHER was/is an employee for Securaplane Technologies located
in the city of Tucson, the state of Arizona.
26. Defendant MICHAEL LAUER was/is an employee for Securaplane Technologies located in
the city of Tucson, the state of Arizona.
27. Defendant CHIRAG DUA was/is an employee for Securaplane Technologies located in the
city of Tucson, the state of Arizona.
28, Defendant RODNEY JAMES was/is an employee for Securaplane Technologies located in
the city of Tucson, the state of Arizona,
29. Defendant DAVID STILVERIO was/is an employee for Securaplane Technologies located in
the city of Tucson, the state of Arizona.
30. Defendant SHUBHAYU CHAKRABORTY was/is an employee for Securaplane
Technologies located in the city of Tucson, the state of Arizona.

STATEMENT OF FACTS
31. In April 2011, at the close of discovery in Pima County Superior Court Case No. C20091791
Defendants produced a defamatory “lookout” poster and affiliated emails as response to
plaintiff's request for production of documents as well as a computer usage policy.
32. Securaplane employee James Bjork viewed Michael Leon MySpace website and initiated
email circulation to named recipients, subpoenaed witnesses, on initial day of FAA
whistleblower trial March 24, 2009 inciting other employees to view Michael Leon MySpace
website content. Securaplane employee Ron Schille then responded to March 24, 2009 email
author James Bjork initial email copying and pasting photo from MySpace website, taking out of
context, altering image and caption, and circulated email on March 24, 2009 to named email
recipients, subpoenaed witnesses, on first day of FAA Whistleblower trial. This is merely the

tip of the iceberg concerning defamatory publications concerning Plaintiff. Plaintiff intends to

 

 
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investigate through discovery the chain of email regarding defamatory email. Attached hereto as
Exhibit A are multiple unnumbered email documents which were produced with the April 29,
2011, the close of discovery, response to request for production.

33. Securaplane, Pacific Scientific and Danaher Corporations possess email systems as well as
company websites, These email systems affiliated with the company and the website are able to
send and receive internal and external emails from third parties, The internet emails pass
through intermediate routers on the way to their destinations. Protocols are affiliated with
sending/receiving emails, email storage.

34, Securaplane attached a copy of the computer usage policy produced with response to
production dated April 22, 2011 attached as Exhibit B hereto.

35. On or about March 24, 2009, defendant Securaplane employees and subpoenaed witnesses
published the attached defamatory email concerning Plaintiff's Native American heritage
(feather in hair) inferring Plaintiff a danger. “Thought you all would like to see this if you
haven’t already” and “this is the scariest part.” The Attachment listed on said email states
“LOOK OUT 2.BMP and LOOKOUT. BMP.”

36, The email referred to plaintiff by name throughout, was made of

and concerning plaintiff, and was so understood by those who

read the email,

37. The entire statement “scary, lookout” is false as it pertains to plaintiff,

38. The email is libelous on its face. It clearly exposes plaintiff to hatred, contempt, ridicule and
obloquy because it portrays plaintiff in a false light. Plaintiff was an 82™ Airborne paratrooper.
Plaintiff is proud of his accomplishments in the military and listed on his personal MySpace
website. Plaintiff is also proud of his Hispanic, Native American heritage and wore feather in his
hair in photo.

39. The email was scen and read on or about March 24, 2009 by RON SCHILLE, JAMES
BJORK, STEVE BISSELL, MIKE BOOST, MIKE DINWIDDIE, GERARD DUROCHER,
HUMANN FARDAGAND, TONY GARCIA, ROD IVERSON, VINCE JENKINS, KARI
STUCK Y, TONY LUYK and TRAVIS WEAVER. Defamation requires "publication," When

 

 
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you send a defamatory statement about another person to others than the one you are defaming,
that constitutes publication, Any every time an email is sent, it is considered a new publication.
Everyone who has a role in the publication of that email may be liable. A lawsuit can be filed
wherever the email was sent, received, or published. Internet emails pass through intermediate
routers on the way to their destinations and are capable of being read by technicians at those
intermediate sites. This constitutes publication to third parties as well. Internet email possesses
a great deal of insecurity. Many of the protocols involved with the sending and receiving of e-
mail are not considered secure protocols, in the sense that they are vulnerable to eavesdropping.
Moreover, vulnerabilities of the protocols which ate used to transport e-mail across the Internet,
one must consider the potential vulnerabilities related to the storage of their e-mail messages.
Most mail servers store messages on the hard drive in the same format in which they were
received, and since the majority of e-mail is sent in plain-text anyone with the right privileges on
the mail server can read the stored e-mail messages. Discovery and investigation in this matter
will unveil these findings.

40. As a proximate result of the above-described publication, plaintiff has suffered loss of his
reputation, shame, mortification, and injury to his feelings inflicting emotional distress, in an
amount to be established by proof at trial.

4\. The above-described publication was not privileged because it was published by defendants
with evil intent, mens rea, state of mind and facts supporting the allegation, for example:
malice, hatred and ill will toward plaintiff and the desire to injure him and prejudice him at trial ,
in that defendants had expressed a desire to "get" plaintiff. Because of defendants’ malice in
publishing, plaintiff seeks punitive damages in a total amount to be established by proof at trial].
WHEREFORE, plaintiff demands judgment against defendants,

and each of them, for:

1. Compensatory damages according to proof;

2, Punitive damages;

3, Interest as allowed by law;

4, Costs of suit; and

 
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5. Such other and further relief as this court may deem

just and proper. Fad

DATED this day of January, 2012.

tucleb tan

MICHAEL A. LEON

444 W. Orange Grove Road, #1136
Tucson, Arizona 85704

(520) 256-8457;

Email: Michaell Lion@vahoo.com
Plaintiff Pro S¢

 

 
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EXHIBIT A

 
S760 N. ORACLE ROAD, Suite 200
TUCSON, AZ SS704
TJELKPHONE: 520.544.0900

OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

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Tibor Nagy, Jr., SBN 007465

F, David Harlow, SBN 027547

OGLETREE, DEAKINS, NASH, SMOAK &
STEWART, P.C., SBN 00504800 ~

6760 N. Oracle Road, Suite 200

Tucson, AZ 85704

Telephone: 520.544.0300

Fax: 520.544.9675

tibor.nagy@opletreedeakins.com

david. harlow@opletreedeakins.com

Attorneys for Defendants

SUPERIOR COURT OF ARIZONA

PIMA COUNTY

MICHAEL A. LEON,
Plaintiff,
y.
SECURAPLANE TECHNOLOGIES,
INC., JANICE WILLIAMS, LORRIE
GUZEMAN, BLANE BOYNTON, DR.
MICHAEL BOOST,

Defendant.

 

 

No. C20091791

DEFENDANTS’ RESPONSE TO
PLAINTIFF’S REQUEST FOR
PRODUCTION OF DOCUMENTS
MAILED TO DEFENDANTS ON
APRIL 9, 2011

- (Hon. Kenneth E. Lee)

Defendants Securaplane Technologies, Inc., Janice Williams, Lorrie Guzeman,

Blane Boynton and Dr. Michael Boost (hereinafter “Defendants"), by and through

undersigned counsel, and pursuant to Rule 34, Arizona Rules of Civil Procedure, submit

this Response to Plaintiffs Request for Production of Documents, which was mailed to

Defendants on April 9, 2011.
Mf

if

 
TUCSON, AZ BETOS
TELEPHONE: SZO.344,0200

OGLETREE, DEAKINS, NASH, SMOAK & STEWART, F.C.
T7EC N. ORACLE ROAD, Surre 260

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GENERAL OBJECTIONS

1, Defendants object to Plaintiff's Requests because they are in violation of
the Court Order of October 18, 2010, which expressly limits Plaintiff to issuing only 20
Requests for Production of Documents in total.

2. Defendants object to Plaintiff's Requests because they were mailed on April
9, 2011, which does not give Defendants the minimum 40 days required under Rule
34(b), Ariz. R. Civ. P., to respond before the stipulated close of discovery on April 29,
2011,

3. To the extent that any and all of the requests call for documents prepared in
anticipation of litigation or for trial, or that otherwise are covered by the attorney work-
product doctrine or protected from disclosure by the attorney-client privilege and/or any
other privilege, including the privilege of privacy, Defendants object to each and every
such request and wil! not supply or render documents protected from discovery by virtue
of such doctrines or privileges. Defendants therefore object to Plaintiff's Instructions,
Definitions, and to each of the Requests, to the extent they purport to require Defendant
to provide information or documents that in whole or in part are: (a) trial preparation
materials or attorney work product not discoverable under Arizona Rule of Civil
Procedure 26; (b) protected by the attorney-client privilege, self-critical analysis
privilege, or other privilege(s); or (c) materials that Defendant, by law or agreement, is
required to maintain in confidence or privacy.

4. Defendants object to Plaintiff's Instructions, Definitions, and to each of the
Requests, to the extent they seek to impose duties on Defendant beyond those imposed by
Arizona Rules of Civil Procedure 26 and 34, ‘Defendant will comply with its obligations
as set forth by these Rules.

5. Defendants object to Plaintiff's Instructions, Definitions, and to each of the
Requests, to the extent they purport to require Defendant to create a document or

documents that do not already exist.

 

 
OGLETREE, DEAKINS, NASH, SMOAK & STEWART, F.C.

Tucson, AX S27O4
TELEPHONE: S20.244.0000

S760 N. ORACLE Roan, Suite 200

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Defendants reserve the right to supplement and amend its responses and objections
to this request pursuant to the Arizona Rules of Civil Procedure, as additional information
and/or responsive documents become available. Subject to the foregoing, Defendants

responds as follows:

REQUEST FOR PRODUCTION

REQUEST NO. J |

Any and all documentation, electronic storage information concerning computer
access, cookies, history of employees at Securaplane [sic] premises accessing external
websites, including but not limited to Arizona Corrections [sic] websites and Plaintiff's
Myspace Social Network.

RESPONSE:

Defendants object to this request:

(1) because it is in violation of the Court Order of October 18, 2010, which
expressly limits Plaintiff to issuing only 20 Requests for Production of Documents in
total; )

(2) because it was mailed to Defendants on April 9, 2011, which does not give
Defendants 40 days to respond before the stipulated close of discovery on April 29, 2011
in violation of Rule 34(b), Ariz. R. Civ, P;

(3) because it is vague and ambiguous, overly broad and seeks information that is
neither relevant nor reasonably likely to lead to the discovery of admissible evidence;

(4) to the extent it seeks information that is protected by the attorney-client and/or

work product privileges.

REQUEST NO. 2

Any and all evidence reflecting Rule 30b6 exhaustive preparation procedures
including but not limited to emails, letters [sic].

RESPONSE:

Defendants object to this request:

 

 
TUCSON, 42 SSTOR
TELEPHONE: SR0344.0300

OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
C760 N. ORACLE ROAD, SYITK. ZOO

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wb N NN YN DN WD _
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(1) because it is in violation of the Court Order of October 18, 2010, which
expressly limits Plaintiff to issuing only 20 Requests for Production of Documents in
total;

(2) because it was mailed to Defendants on April 9, 2011, which does not give
Defendants 40 days to respond before the stipulated close of discovery on April 29, 2011
in violation of Rule 34(b), Ariz. R. Civ. P;

(3) because it is vague and ambiguous;

(4) because it seeks information that is protected by the attorney-client and/or

work product privileges.

DATED this 29th day of April, 2011.

OGLETREE, DEAKINS, NASH, SMOAK &
STEWART, P.C.

» bm Ml

Tibor Nagy, Jr., SBN 00746

F. David Harlow, SBN 027547
6760 N, Oracle Road, Suite 200
Tucson, AZ 85704

Attorneys for Defendants

On this 29th day of April, 2011,

a copy of the foregoing was e-maited

to Michaell Lion@yahoo.com

and the ori iginal and one copy of the foregoing
was mailed, Via First Class Regular Mail, to:

 

Michael A. Leon

444 W. Orange Grove Road, #1136
Tucson, AZ 85704

Plainti o Se

 

 
 

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From:
To:
ce:

Sent:

Subject:
Attachments:

This is the scariest park...

Ron Schille

. dames Bjork

Steve Bissell; Mike Boost; Mike Dinwiddie; Gerard Durocher, Huraann Fargadmand; Tony Garcia;
Rod Iverson; Vince Jenkins; Ron Schille; Kari Stucky; Tony Luyk; Travis Weaver

3/24/2009 5:43:54 PM

RE: Mike Leon-MySpace Page

LOOK OUT 2.bmp; LOOK OUT. bmp

 

-——Original Message——-
From: James Bjork
Sent: Tuesday, March 24, 2009 9:52 AM

To: Steve Bissell; Mike Boost; Mike Dinwiddie; Gerard Durocher; Humann Fargadmand; Tony Garcia; Rod iverson; Vinee
Jenkins; Ron Schille; Karl Stucky; Tony Luyk

Subject: Mike Leon-MySpace Page

Thought you ail would like to see this (if you haven't already)----

Regards,

 

 
 

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From: Helen Velez

To: Shawn K. Bucher; Radney James; David Silverio; Chirag Dua; Mike Boost; Michael Lauer
cc: Shubhayu Chakraborty

Sent: 4/1/2009 4:55:26 PM

Subject: Guards

Team - please be advised that our guards have returned. They will ba in place untit April 10 and will be patrolling around our
buildings.

This is for additional peace of mind while we finalize matters relating to the Leon trial. Although we have reached resolution ~ ihis
will not be finatized until April 10, when he will sign an legal agreement to confirm.

Please communicate with your teams and give reassurance about the presence of our guards,
Many thanks,

Helen Velez

Human Resources Director

Securaplane Technologies Itc
Tel 520 425-8003

 
 

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From: Helen Velez

To: Shawn K, Bucher, Michael Laver; David Silverio; Chirag Dua; Rodney James; Mike Boost
Gc: Shubhayu Chakraboriy

Sent: 3/24/2009 2:48:17 PM

Subject: Security Guards

Attachments: Leon Michael! photo.jeg

Tearn - please be acvised that we have hired security guards for the duration of ihe Leon trial and next week.

The guards are simply a precaution as we had a safety concern in (he past. We would like to offer reassurance to our
associates.

The trial commences today (3/24) and potentially concludes 3/26. During this time and coming weeks - please rernind your
teams to be security minded. They must wear [D badges and musta't leave external doors/ roller shufler doors open (except for
delivery/ shipping needs), If badges have been jost, please see Rick Farnsworth for replacement.

If they sas Michael Leon near Securaplane, they must report it immediately and shouldn't let him Into the building, | have
attached a photo of Leon to help with identification. Kristina Weher (Reception) will co-ordinate contact details with the guards.

Our guards aro off-duly Police Officers. II is possible that we'll get different guards each day. David Chenoweth or myself will
meet the guards at 8arn each day to show them the patrol areas. The patrol times are 8am-Spm. however, | am considering
changing times in order fo accommodate earlier Operations shift in Maln Building and for those working beyond Spm.

Regards,

Helen Veloz

Human Resources Director

Securaplane Technologies Inc

Tel 520 425-8003 '

 

 
 

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From: Helen Velez

To: Shawn K. Bucher; Michael Lauer; Chirag Dua; Rodney James; David Silverio
ce: Mike Boost; Shubhayu Chakraborty

Sent: 3/24/2009 9:16:35 PM

Subject: Leon Eriat

Taam ~ please be advised thal we came ta an agreement with Mr Leon this moming.
Going forward, the need for security guards has reduced and they will be leaving at COB today.

Thank you for keeping your teams updated on security. | will be contacting those named as witnesses and lettlag them know
they are no jonger needed.

With kind regards,

Helen Velez

Human Resources Director
Securaplane Technologies Inc
Tel 520 425-8003

 
 

James

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-—Original Message——

From: Kristina Weber

Sant: Tuesday, March 24, 2009 8:23 AM

To: Steve Bissell; James Bjork; Mike Boost; Mike Dinwiddie; Gerard Durocher; Humann Fargadmand; Tony Garcia;
Rod Iverson; Vince Jenkins; Ron Schille; Kari Stircky; ‘Tony Luyk

Subject: FW: Parking garage details

Good morning all, Helen requested | send you the attached map of a parking garage close to the courthouse. ,
Tony Luyle Please pass on to Lynette Noyce and Heidi Lucas.

~KKristina

-~—Orlginal Message--—~

From: Helen Velez

Sent: Monday, March 23, 2009 10:11 PM
To: Kristina Weber

Subject: Parking garage clelails

Hello Kristina

Please send out details of a parking garage ~ whichis 5 minutes walk from ihe Leon trial. A list of potential witnesses is
attached.

| have previously sent out directions to the courthouse (38 S Scott Ave, Tucson).

Thanks
Helen

 
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EXHIBIT B
OGLETREEZ, DEAKINS, NASH,
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Tucson, AZ BS704

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_ Tibor Nagy, Jr., SBN 007465

F. David Harlow, SBN 027547

OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C., NO. 00504800
6760 North Oracle Road, Suite 200

Tucson, Arizona 85704

Telephone: (520) 544-0300

tibor.nagy@ogletreedeakins,com

david. harlow@ogletreedeakins.com

Attorneys for Defendants

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF PIMA

No. C20091791
MICHAEL A. LEON,
Plaintiff,
DEFENDANTS? FIRST
v. SUPPLEMENTAL RULE 26.1
SECURAPLANE TECHNOLOGIES, INC,, DISCLOSURE STATEMENT
JANICE WILLIAMS, LORRIE GUZMAN,
BLANE BOYNTON, DR. MICHAEL BOOST,
Defendant. (Hon. Kenneth E, Lee)

 

 

 

Defendants Securaplane Technologies, Inc., (“Securaplane"), Janice Williams,
Lorie Guzman, Blane Boynton and Michael Boost (collectively “Defendants”), by and
through their attorneys undersigned and pursuant to Rule 26.1(a), Arizona Rules of Civil
Procedure, hereby submit their First Supplemental Disclosure Statement, as follows. This
Disclosure Statement and its contents represent the product of Defendants’ investigation
to date. This matter is only in the initial phase of discovery and further investigation and

discovery may bring to light additional information that may have a bearing on

Defendants theories of defenses,

 
TUCSON, AT BS7O4;

OGLETRER, DEAKING, NASH,
SMoax & Sttwarr, Pc.

@760 N. ORACLE Roan, Surre 200

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I. RULE 26.1(a)(8) - THE EXISTENCE, LOCATION, CUSTODIAN, AND
GENERAL DESCRIPTION OF ANY TANGIBLE EVIDENCE OR
RELEVANT DOCUMENTS TH HE DISCLOSING PARTY PLANS TO
USE AT TRIAL AN LEV 2 INSURANCE AGREEMENTS:

 

 

 

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By listing potential trial exhibits below, Defendants do not necessarily agree that
all listed exhibits will, in fact, be offered into evidence at trial. Decisions as to the
exhibits Defendants will offer at trial are dependent in great part upon pre-trial discovery,
pre-trial rulings of the Court, and the evidence offered at trial by Plaintiff. The
admissibility of certain exhibits may also be dictated in part by pre-trial and trial

proceedings and rulings by the Court.

At present, Defendants believe that they may offer at trial any, all or none of the

following documents:

a. Securaplane Technology Computer Usage Policy attached hereto as Bates
No. Secura-Leon000448,
DATED this day of 22nd day of April, 2011.

OGLETREE, DEAKINS, NASH,
SMOAK & STEWART, P.C.,

py  =* fA

Ove Nagy, Jr.

F. David Harlow

6760 North Oracle Road, Suite 200
Tucson, Arizona 85704

Attorneys for Defendants

Original and a copy of the foregoing

was e-mailed to MichaeliLion@yahoo, com
and mailed via First Class Regular Mail

on this 22"! day of April, 2011 to:

Michael A. Leon
444 W, Orange Grove Road, #1136

 

 

 
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